                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                     NO. 5:18-CR-00452-FL-1


 UNITED STATES OF AMERICA                       )
                                                )
            v.                                  )                       ORDER
                                                )
 LEONID ISAAKOVICH TEYF                         )



         Upon motion of the Defendant, for good cause shown, it is hereby ORDERED that

Defendant’s exhibit at D.E. 502-1 filed on 9 March 2020 be sealed until further order of the

Court.

         It is further ORDERED that the Clerk of Court provide a filed copy of the sealed filing to

counsel for the Government and Defendant.

         SO ORDERED.

         This the 18th day of March, 2020.




                                              Louise W. Flanagan
                                              United States District Judge




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